
981 A.2d 1234 (2009)
411 Md. 82
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Richard Lloyd THOMPSON, II, Respondent.
Misc. Docket AG No. 41, September Term, 2009.
Court of Appeals of Maryland.
October 7, 2009.

ORDER
This matter came before the Court on the Joint Petition for Placement on Inactive Status. Upon consideration of said petition, it is this 7th day of October, 2009
ORDERED, that the Respondent, Richard L. Thompson, II, be, and he is hereby, placed on inactive status until further Order of this Court and, and it is further,
ORDERED, that the Clerk of this Court shall remove the name of Richard L. Thompson, II from the register of attorneys in this Court until further Order of this Court and shall certify that fact to the Client Protection Fund and the Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
